              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 1 of 13




 1

 2

 3

 4

 5

 6

 7
                               IN THE UNITED STATES DISTRICT COURT
 8

 9                             WESTERN DISTRICT OF WASHINGTON
10

11   BBC GROUP NV LLC, a Nevada Limited
12   Liability Company                                  Case No.: 2:18-cv-1011

13                Plaintiff,                            COMPLAINT FOR MONETARY
14                                                      DAMAGES AND INJUNCTION
     vs.
15

16   ISLAND LIFE RESTAURANT GROUP LLC, a
                                           JURY TRIAL DEMANDED
17
     Washington Limited Liability Company;
     ALEX PRINDLE, a Washington Resident
18   BRIAN O’CONNOR, a Washington Resident
19
                 Defendants.
20

21

22

23          COMES NOW the Plaintiff BBC GROUP NV LLC, by and through its attorney of record,

24   appears and states by way of its Complaint, the following:

25

                                              PAGE 1 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 2 of 13




 1                                      NATURE OF THE CASE

 2          This is an action for Trademark Infringement, Unfair Competition, Trademark

 3   Counterfeiting, State Trademark Infringement, State Unfair Competition, Alter Ego Theory,

 4   and Civil Conspiracy. Plaintiff seeks actual damages, an award of attorney’s fees and costs,

 5   preliminary and permanent injunctive relief, and any other relief that the Court deems just

 6   and proper.

 7

 8                                PARTIES JURISDICTION AND VENUE

 9   1. Plaintiff BBC GROUP NV LLC (“BBC”) is a limited liability company organized and existing
10      under the laws of Nevada with an address of 2900 E. Patrick Lane, Suite 3, Las Vegas

11      Nevada 89120 and its principal place of business is in Las Vegas, Nevada.

12   2. On information and belief, Defendant ISLAND LIFE RESTAURANT GROUP LLC (“ISLAND
13      LIFE”)is a limited liability company organized and existing under the laws of Washington

14      and conducting business in the State of Washington and the United States with an address

15      of 13023 Military Road S. Tukwila, Washington 98168 and its principal place of business is

16      in Seattle, Washington at 1427 10th Avenue Seattle, WA 98122.

17   3. On information and belief, Defendant BRIAN O’CONNOR (“O’CONNOR”) is an individual
18      residing in the State of Washington, conducting business in the State of Washington and

19      the United States with an address of 13023 Military Road S. Tukwila, Washington 98168

20      and with a principal place of business in Seattle, Washington.

21   4. On information and belief, ALEX PRINDLE (“PRINDLE”)is an individual residing in the State
22      of Washington, conducting business in the State of Washington and the United States with

23      an address of 1521 SW 98th Street, Seattle, Washington 98106.

24

25

                                              PAGE 2 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 3 of 13




 1                                     JURISDICTION AND VENUE

 2   5. This is an action for Trademark Infringement under the Lanham act 15 U.S.C. §1114 et seq.,
 3      Unfair Competition arising under the Lanham Act 15 U.S.C. §1125(a) et seq., Trademark

 4      Counterfeiting under 18 U.S.C. § 2320, State Trademark Infringement, State unfair

 5      competition, Alter Ego Theory, and Civil Conspiracy.

 6   6. This action is brought under, and subject matter jurisdiction of this matter is vested in this
 7      Court through 28 U.S.C. §§ 1331 (Federal Question), 1332 (Diversity), and meets all

 8      requirements including complete diversity of citizenship and an amount in controversy in

 9      excess of $75,000. The Court has supplemental jurisdiction over all state and common law

10      claims pursuant to 28 U.S.C. § 1367.

11   7. Venue is proper in this action under 28 U.S.C. § 1391 because at least one Defendant
12      resides in this District and all Defendants are residents of the State, a substantial part of

13      the events or omissions giving rise to the claims occurred in this District, and because the

14      Defendants are subject to personal jurisdiction in this District.

15

16                                        BACKGROUND FACTS

17   8. BBC is a Las Vegas area based Restaurant business that offers fast casual food in the style
18      of Rotisserie Chicken and Mediterranean food.          BBC is in the process of opening 6

19      restaurants in the Las Vegas valley and has intentions to expand nationwide within 18

20      months to locations in San Francisco and Seattle.

21   9. On information and belief, ISLAND LIFE is a Seattle Washington based fast casual food
22      restaurant specializing in fried chicken. On information and belief, ISLAND LIFE has three

23      Seattle area based locations with further expansion of a fourth restaurant planned.

24

25

                                                PAGE 3 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 4 of 13




 1   10.BBC became aware of ISLAND LIFE when Defendant ALEX PRINDLE on February 16, 2018
 2      sent a one-page cease and desist letter to BBC. The letter stated that ISLAND LIFE had filed

 3      for a trademark for “Bok A Bok” U.S. Registration Number 5301484 and that BBC was to

 4      cease use of the “Bok Bok” Name.

 5   11. In March and April of 2018, Plantiff BBC engaged in negotiations for the purchase of a
 6      third party mark “BOCBOC Chicken Delicious” U.S. Registration Number 4768903

 7      (“BOCBOC Mark”), the purchase was finalized in early April and the purchase was recorded

 8      with the United States Patent and Trademark Office (“USPTO”) shortly thereafter. Plaintiff

 9      maintained a license to a licensee that the previous owner signed. The previous owner and

10      the licensee collectively or separately have continuously used the mark or intended to use

11      the mark since the BOCBOC Mark’s filing in 2011.

12   12.On or about April 8, 2018 in responding to ISLAND LIFE’s and PRINDLE’s February 16, 2018
13      letter, a representative from BBC asked PRINDLE, who was representing ISLAND LIFE, if

14      changing the BBC name from Bok Bok to Boc Boc or Boq Boq would be sufficient.

15   13.On or about April 10, 2018 PRINDLE and ISLAND LIFE responded that Boc Boc and Boq boq
16      would be too similar to “Bok A Bok” and that after discussing with ISLAND LIFE’s attorney,

17      there would be consumer confusion between “Boc Boc” and “Bok a Bok”. PRINDLE on

18      behalf of ISLAND LIFE admitted: “BOQ BOQ or BOC BOC are definitely confusingly similar

19      marks [to Bok A Bok]—changing one letter is not really going to effect how consumers

20      interact with the brand. Imagine if you were walking down the street and you saw a

21      STARBUC coffee shop next to a NIKEE shoe store. It would be confusing and disorienting.”

22   14.On or about April 11, 2018, BBC through its attorney sent a cease and desist to Defendants
23      ISLAND LIFE, PRINDLE, and O’CONNOR regarding their use of “Bok a Bok” and the

24      confusion created by Defendants ISLAND LIFE, PRINDLE, and O’CONNOR using a mark “Bok

25

                                              PAGE 4 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 5 of 13




 1      A Bok” which by their own admission was confusingly similar to “Boc Boc” (i.e. the BOCBOC

 2      Mark).

 3   15.BBC is the sole owner and has the right and standing to sue for infringement of the
 4      BOCBOC Mark.

 5   16.Plaintiff BBC’s BOCBOC Mark has a filing date of September 2, 2011 and predates
 6      Defendants’ use of “Bok A Bok” and “Bok A Bok Chicken”.

 7   17.On information and belief, Defendants began using “Bok A Bok” and “Bok A Bok Chicken”
 8      no sooner than March 07, 2016.

 9   18.Plaintiff’s BOCBOC Mark’s filing date of 2011 predates the Defendants’ Use in 2016 by
10      approximately five years.

11   19.In April and May of 2018, discussions between BBC and ISLAND LIFE by and through their
12      attorneys looked promising, but ISLAND LIFE abruptly pulled out of discussions.

13   20.On or about May 22, 2018, after talks broke down between the parties, Plaintiff’s attorney
14      visited Defendants’ Capitol Hill eatery location at 1427 10th Ave, Seattle, WA 98122.

15      Defendants were using and continue to use “Bok a Bok Chicken” throughout their locations

16      in direct and willful infringement of BBC’s BOCBOC Mark. Pictures of the Defendants’

17      location and infringing activity are attached as Exhibit A.

18   21.Communication between the parties have ceased, and the present lawsuit has been
19      initiated to cure Defendants’ continued wrongful and unlawful acts.

20

21                                         CAUSES OF ACTION

22                                         First Cause of Action

23                 (Trademark Infringement – Lanham Act, 15 U.S.C. § 1114 et seq.)

24   22.Plaintiff hereby re-alleges and incorporates each and every allegation set forth above as if
25

                                                PAGE 5 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 6 of 13




 1      the same was more fully set forth herein.

 2   23.Plaintiff BBC owns a federal trademark registration for “BOCBOC Chicken Delicious” U.S.
 3      Registration Number 4,768,903.

 4   24. Plaintiff and/or Plaintiff’s Licensees’ longstanding use of the BOCBOC Mark grants them
 5      the exclusive right to use the mark in commerce in connection with the goods and services

 6      specified in the application.

 7   25.Defendants had both actual and constructive knowledge of Plaintiff’s ownership and rights
 8      in its federally registered trademark since at least April 2018.

 9   26.Defendants offered their goods under the infringing trademark in the same channels of
10      trade as Plaintiff.

11   27.Defendants’ use of Plaintiff’s mark is likely to cause and has caused confusion, mistake, or
12      deception as to the affiliation, connection, or association of Plaintiffs in violation of 15

13      U.S.C. § 1114; Defendant has admitted infringement as described in paragraphs 12 and 13

14      above.

15   28.Defendants’ unauthorized use, in interstate commerce, of BBC’s trademark constitutes
16      trademark infringement under the Lanham Act.

17   29.Defendants’ unauthorized use of Plaintiff’s trademark caused, and continues to cause,
18      irreparable harm to the BOCBOC brand. Therefore, because monetary damages alone

19      cannot fully compensate Plaintiff, BBC is entitled to preliminary and permanent injunction

20      from further unauthorized use of the BOCBOC Mark by Defendants, Pursuant to 15 U.S.C. §

21      1116, as well as the seizure and destruction of any items bearing the Mark in Defendants’

22      possession.

23   30.Defendants’ trademark infringement under 15 U.S.C. § 1117, entitles Plaintiffs up to
24      $100,000 per counterfeit sale under the mark, offered for sale, or distributed; and up to

25

                                                PAGE 6 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 7 of 13




 1      $1,000,000 per counterfeit sale under the mark if the unauthorized use of the mark was

 2      willful.

 3   31.The foregoing acts of infringement have been and continue to be deliberate, willful and
 4      wanton, making this an exceptional case within the meaning of 15 U.S.C. §1117.

 5   32.Plaintiff is entitled to a permanent injunction against Defendant, as well as all other
 6      remedies available under the Lanham Act, including, but not limited to, compensatory

 7      damages; treble damages; disgorgement of profits; and costs and attorneys’ fees.

 8

 9                                           Second Cause of Action

10                      (Unfair Competition – Lanham Act, 15 U.S.C. § 1125(a) et seq.)

11   33.Plaintiff hereby re-alleges and incorporates each and every allegation set forth above as if
12      the same was more fully set forth herein.

13   34.Defendants’ use in commerce of the Plaintiff’s trademark, as used on goods and services
14      that do not emanate from Plaintiff or Plaintiff’s licensee(s), constitute a false designation of

15      origin by representing that Defendants’ goods and services are those of Plaintiff, when in

16      fact they are not.

17   35.Defendants’ use in commerce of Plaintiff’s trademark with knowledge that Plaintiff and/or
18      Plaintiff’s licensees owns, have used, and continue to use constitutes intentional conduct

19      by Defendants to make false designations of origin and false descriptions about the

20      relevant goods and services.

21   36.Defendants have deliberately and willfully attempted to trade on Plaintiff and/or Plaintiff’s
22      licensees’ longstanding goodwill in Plaintiff’s and/or Plaintiff’s licensees’ name, trademarks

23      and reputation that Plaintiff and/or its licensees have established in connection with their

24      products and services, and Defendants have done so to confuse consumers as to the origin,

25

                                               PAGE 7 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 8 of 13




 1      association and sponsorship of Defendants’ goods and services.

 2   37.Defendants’ conduct has confused or is likely to confuse consumers as to the origin,
 3      association, connection or sponsorship of Defendants’ products and services in violation of

 4      15 USC § 1125(a).

 5   38.As the direct and proximate result of such unfair competition, Plaintiff has suffered, and
 6      will continue to suffer, monetary loss and irreparable injury to its business, reputation, and

 7      goodwill.

 8

 9                                            Third Cause of Action

10            (Trademark Counterfeiting - Trademark Counterfeiting Act 18 U.S.C. 2320)

11   39.Plaintiff hereby re-alleges and incorporates each and every allegation set forth above as if
12      more specifically set forth herein.

13   40.Defendants intentionally and willfully trafficked goods and services containing a mark that
14      is owned by Plaintiff.

15   41.The mark was used in a way to deceive consumers and cause confusion between the
16      products and services sold by Defendants, and the authentic goods and services sold by

17      Plaintiff and Plaintiff’s Licensee.

18   42.Defendants have profited from the aforementioned acts.
19   43.As the direct and proximate result of the counterfeiting, Plaintiffs have suffered, and will
20      continue to suffer, monetary loss and irreparable injury to its business, reputation, and

21      goodwill.

22

23

24

25

                                                  PAGE 8 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 9 of 13




 1

 2                                        Fourth Cause of Action

 3                      (State Trademark Infringement under RCW 19.77 et seq.)

 4   44.Plaintiff incorporates by reference the preceding allegations as if fully set forth herein.
 5   45.By virtue of having used and continuing to use the BOCBOC Mark, the Plaintiff and/or
 6      Plaintiff’s Licensee have acquired common law rights in the trademark.

 7   46.Defendants’ infringing use of the BOCBOC trademark is likely to cause confusion, mistake,
 8      or deception among consumers, who will believe that Defendant's services and/or goods

 9      originate from, or are affiliated with or endorsed by Plaintiff, when, in fact, they are not.

10   47.As the direct and proximate result of Defendants’ infringement of Plaintiff’s common law
11      trademark rights, Plaintiff has suffered, and will continue to suffer, monetary damages and

12      irreparable injury to its business, reputation, and goodwill.

13

14                                         Fifth Cause of Action

15                      (State Trademark Infringement under RCW 19.86 et seq.)

16   48.Plaintiff incorporates by reference the preceding allegations as if fully set forth herein.
17   49.Defendants know that Plaintiff is in the business of selling food and engaging in restaurant
18      services.

19   50.Defendants committed acts intended or designed to disrupt Plaintiff’s business.
20   51.Defendants’ have engaged in unfair methods of competition to gain an advantage for their
21      own business.

22   52.Defendants have no legal right, privilege or justification for their conduct.
23   53.Defendants’ actions have caused irreparable harm to Plaintiffs and will continue to do so
24      unless enjoined by this court.

25

                                                PAGE 9 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 10 of 13




 1

 2                                         Sixth Cause of Action

 3                                           (Alter Ego Theory)

 4   54.Plaintiff incorporates by reference the preceding allegations as if fully set forth herein.
 5   55.On information and belief, Defendants O’CONNOR and PRINDLE used the assets of
 6      Defendant ISLAND LIFE for their personal use and caused the assets of Defendant ISLAND

 7      LIFE to be transferred to them without adequate consideration, and have withdrawn funds

 8      from the bank accounts of Defendant ISLAND LIFE for O’CONNOR’s and PRINDLE’s own

 9      personal use.

10   56.On information and belief Defendants O’CONNOR and PRINDLE have used Defendant
11      ISLAND LIFE as a mere shell, instrumentality, and/or conduit from which Defendants

12      O’CONNOR and PRINDLE have carried on their business as if the main corporate defendant

13      did not exist, to such an extent that any individuality or separateness of the named

14      Defendants no longer exists, and that the activities of Defendant ISLAND LIFE were carried

15      out without the required holding of directors’ or shareholders meetings and no records or

16      minutes of any corporate proceedings were maintained.

17   57.On information and belief, Defendant ISLAND LIFE is underfunded, under capitalized, and
18      would be unable to satisfy a judgment.

19   58.As a result of Defendant O’CONNOR and PRINDLE’s actions an inequitable result would
20      occur if Defendant ISLAND LIFE’s actions were treated as those of the corporation alone

21      and O’CONNOR and PRINDLE should therefore be held vicariously liable as well as jointly

22      and severally liable for the actions of ISLAND LIFE.

23

24

25

                                                PAGE 10 OF 13
     COMPLAINT
              Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 11 of 13




 1                                       Seventh Cause of Action

 2                                           (Civil Conspiracy)

 3   59.Plaintiff incorporates by reference the preceding allegations as if fully set forth herein.
 4   60. On information and belief, on or around April of 2018 Defendants ISLAND LIFE, O’CONNOR,
 5      and PRINDLE knowingly and willfully conspired and agreed among themselves to commit

 6      unlawful actions plead herein against BBC.

 7   61.Defendants did those acts and things alleged pursuant to, and in furtherance of, the
 8      conspiracy and the above-alleged agreement.

 9   62.Defendants furthered the conspiracy by participation with and/or by aid of and
10      encouragement to and/or ratified and adopted the acts of ISLAND LIFE, O’CONNOR and

11      PRINDLE as alleged above.

12   63.As a proximate result of the wrongful acts herein alleged, Plaintiff has been generally and
13      specially damaged as alleged above and according to proof.

14   64.Defendants’ conduct constitutes civil conspiracy and is actionable under the laws of the
15      State of Washington.

16                                          Eighth Cause of Action

17                              Cancellation of US. Registration No. 5,301,484)

18   65.Plaintiff incorporates by reference the preceding allegations as if fully set forth herein.
19   66.ISLAND LIFE claims ownership of U.S. Registration No. 5,301,484 for “BOK A BOK” for “Bar
20      services, Café services, Catering services, Restaurant services” registered on October 3,

21      2017 and having a date of first use of March 7, 2016 and date of first in interstate

22      commerce of June, 1, 2016. (‘484 Registration). The ’484 Registration should be cancelled

23      pursuant to 15 U.S.C. § 1114. because the mark “BOK A BOK” for the recited services” is

24      likely to cause confusion with Applicant’s prior Registration No. 4,768,903 for “BOCBOC

25

                                                PAGE 11 OF 13
     COMPLAINT
             Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 12 of 13




 1      Chicken Delicious” for “Restaurant Services, including sit-down service of food and take-

 2      out restaurant services” registered on July 7, 2017 and having a first use date of April 1,

 3      2012 due to its likelihood to cause confusion with Plaintiff’s pre-existing ‘903 Registration.

 4      Defendant has admitted infringement as described in paragraphs 12 and 13 above.

 5      Pursuant to 15 USC § 1119 of the Lanham Act, this Court has jurisdiction to order the

 6      USPTO to make appropriate entries on the Federal Register with respect to the subject

 7      mark, including cancellation of the ‘484 Registration.

 8

 9         WHEREFORE, Plaintiff prays for judgment against each defendant in excess of $75,000

10         and judgment against the Defendants, jointly and severally, as follows:

11                 1.      For compensatory and punitive damages in a sum according to

12                 proof at trial including general and special damages;

13                 2.      For interest and pre-judgment interest at the statutory rate until

14                 the amount of judgment is paid in full;

15                 3.      Find this to be an exceptional case and award Plaintiff its

16                 attorney’s fees and costs of suit herein;

17                 4.      Permanent Injunctive relief to prevent further harm;

18                 5.      Enter Final Judgment cancelling the ’484 Registration and directing the

19                 Director of the United States Patent and Trademark Office to remove such

20                 registrations from the Principal Register; and

21                 6.      Such other and further relief that the Court deems just and

22                 proper.

23

24

25

                                                PAGE 12 OF 13
     COMPLAINT
            Case 2:18-cv-01011-RSM Document 1 Filed 07/11/18 Page 13 of 13




 1

 2                                              Jury Trial Demand

 3         Plaintiff hereby demands a jury trial on all issues so triable.

 4

 5
           Dated this 11th day of July, 2018
 6
                                                    APEX JURIS, PLLC
 7                                        By:     _s/ Tracy M. Heims
                                                  Tracy M. Heims
 8                                                (Washington Bar No. 28,594)
 9                                                _s/Joseph Chalverus
                                                  (Washington Bar No. 13,449)
10                                                Tracy@apexjuris.com
                                                  (206)664-0314
11
                                                  12733 Lake City Way, Suite 101
12                                                Seattle, WA 98125

13

14                                           BAYRAMOGLU LAW OFFICES LLC.
                                          By:   s/ Nihat Deniz Bayramoglu
15                                              NIHAT DENIZ BAYRAMOGLU, ESQ.
                                                (Nevada Bar No. 14030)
16
                                                (California Bar No. 294922)
17                                              Pro Hac Vice Admission Pending
                                                Deniz@bayramoglu-legal.com
18                                              2520 St. Rose Pkwy, Suite 309
19
                                                Henderson, Nevada 89074

20                                                Attorneys for Plaintiff BBC GROUP NV LLC

21

22

23

24

25

                                                PAGE 13 OF 13
     COMPLAINT
